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MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SHN 228949)

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610

Tel: (949) 531-6500

Fax: (949) 331-6301

ATTORNEYS FOR CREDITORS and PLAINTIFTS
Kelli Peters, Bill Peters and Sydniec Peters

UNITED STATED BANKRUPTCY COURT
CANTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No, 8:16-bk-10223-ES

Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Keni W.

Raster AMENDED NOTICE OF
CONTINUANCE OF STATUS
CONFERENCE AND HEARING ON

SUMMARY JUDGMENT
Kelli Peters, Bill Peters and Sydnie Peters,

Plaintiffs,

VS.
Kent W, Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
Easter,
Defendants.

TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on July 21, 2016, at 9:30 am., in the United States
Bankruptey Court, Central District of California (Santa Ana Division), Department 5A, located at
411 West Fourth Street, Santa Ana, California, the Status Conference regarding Complaint of

Determine Dischargeability of Debt came on for hearing.

1

AMENDED NOTICE OF CONTINUANCE OF STATUS CONFERENCE DATE AND
HEARING ON SUMMARY JUDGMENT

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Amber D, Esposito, Esq. appeared on behalf of Plaintiffs Kelli Peters, Bill Peters and Sydnie
Peters and Defendant Kent W. Easter appeared in propria persona,

The Court’s tentative ruling became its final ruling as set forth in the Scheduling Order
attached hereto as Exhibit *A”,

Please take further notice that the Status Conference and Hearing on Summary Judgment
have been continued by the Court from November 8, 2016 to November 10, 2016 at 2:00 p.m. in

2 = OT Oe

Pe mmm mmm mm ee

Department 5A of this Court.

Dated: August 15, 2016

2

MARCEREAU & NAZIF

fs? Robert H. Marcereau
Robert H. Marcercau
Attorneys for Plaintiffs

AMENDED NOTICE OF CONTINUANCE OF STATUS CONFERENCE DATE AND
HEARING ON SUMMARY JUDGMENT

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EXHIBIT “A”
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Attomey or Party Name, Address, Talaphone & FAX FOR COURT USE ONLY

Nos., State Bar No. & Email Address

Robart Marcerasu (SBN: 211534) FILED & ENTERED

MARCEREAU & NAZIF

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Foothill Ranch, California $2610 AUG 15 2016

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Fax: (949) 534-6501

E-mail: nmarcereaugmncalaw.com CLERK U.S, BANKRUPTCY COURT
Central Ofetdet of Gallfornia
BY duarte DEPUTY CLERK

CHANGES MADE BY COURT

OO Debtor(s) appearing without atformay
% Aftomey for Movant, Kelli Peters

CENTRAL DISTRICT OF CAL

UNITEO STATES BANKRUPTCY COURT
IFORNIA —Senta Ana DIVISION

In re:

Kent Wycliffe Easter, dba Kent Easter Consulting, dba
Law Offices of Kent WW. Easter

Debtorts)

CASE NO): 4:18-bk-10223-ES
CHAPTER: 7
ADVERSARY NO: 6:16-01 114-ES

STATUS CONFERENCE AND SCHEDULING
ORDER PURSUANT TO LBR 7016-1 (a}(4)

Kelli Peters, Bll Peters and Sydnie Peters

Plaintiff(s}
Ve.

Kent W. Easter

Defendant(s}

DATE: July 21,2016

TIME: 3:30 a.m.

COURTROOM: 54

ADDRESS: 411 W. Fourth Street
Santa Ana, CA 92704

1. Astatua conferance tock place on the date and time indicated above.

This matter is disposed of as follows:

@. XK  Gontlnued to tha following date for a further status conference:

Parties and counsel were present ag reflected In the court record.

(date) 11/10/2018 (time) 2:00 p.m

b. LJ Ajaint status report must be filad and served, ineleing a judge's ¢ copy, by (date):

This ‘orm is ectonal It haa been napproved for usa aiter Lnited Sales Senerunicy ‘Cour forthe Central Dlatict of Cellfomia.

December 2074

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F 7016-1.2.ORDER.STATUS.CONF
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d. ( The last day for pre-trial motions to be filed and served, including a judge's copy, ls (data):

3. [) The lest date for pre-trial motions to be heard is (cfais):

f. (7 The last day for dlacovary to be completed, including receiving responses to discovery requests, is
(data):

g. OC] A C) pre-trial stipulation or G pre-trial order must be filed and lodged by (date) (time)
(C1 No pretrial stipulation or pre-trial ordar is required

h. OJ Apre-trial conference is set for (date} (time)

C1 No pre-trial conference is required
i. ( Estimate of time for trial (specify number of hours):
j LJ Atrial is set for (dafe} (fina)

k. C1 The adversary proceeding is dismissed for failure to appear or prosecute
LC) with prejudice (1) without prejudice

|. [ Notice of next status conference or pre-trial conference date is waived

m. X Other (specify): The Deadline to file Summary Judgmant Motion Is 10/4/2016. The Hearing on
Summary Judgment ls 14/10/2016 at 2:00 p.m.’ An updated joint status report is not required.

Date: August 15, 2016
Frithe Smith
United States Bankruptcy Judge

? A hearing date on the Motion for Summary Judgment waa orlginally reserved for November &, 2016 at 2:00p.m. However,
due te the couct’s unavailability on November 8, 2016, a hearing date has new been reserved for November 10, 2016 at 2:00

This foro is opiional. If has been approved far use by the United Slates Bankruptcy Goud for Ihe Central Dlstiet of California.
Daceamiar 2014 Page 2 F 7016-1.2.ORDER.STATUS.CONF
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PROOF OF SERVICE OF DOCUMENT

lam over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address |s:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 82610

A true and correct copy of the foregoing document entitled (specify): AMENDED NOTICE OF CONTINUANCE OF
STATUS CONFERENCE DATE AND HEARING ON SUMMARY JUDGMENT. willbe served or was served {a}
on the judge in chambers In the form and manner required by LBR 5005-2(d}; and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to contre!ling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)

8/18/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following parsons ara on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated balow:

acf.alerttKosmalagtitlexi.corm, notices@@becket-lee.cam, claims@recoverycorp.com, ustoragion16.sa.eci@usdoj.gov
[_] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) BM18/16, | served the following persons and/or entities at the last known addresses in this bankruptey case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor: Kent VVycliffa Easter, 153 Baywood Dr., Newport Beach, CA 82660

Trustee: Waneta M Koemala, 3 MacArthur Place, Suite 760, Sanita Ana, CA 92707

Judge: Honorable Erithe A. Smith, United States Bankruptcy Court, Central District of Callfomia, Ronald Reagan Federal
Building and Courthouse, 411 Wast Fourth Street, Suite 5040 / Courtroom 5A, Santa Ana, CA 92701-4593

[] Service information continued cn attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL [state method
for éach person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on {date . | served the
following persons and/or entitles by pereonal delivery, cvernight mail service, or (for those who consented in writing te
such service method}, by facsimile transmission andfor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, tha judge will ba completed no later than 24 hours after the document is
filed.

1 Service information continued on attached pag!
declare under penalty of perjury under the laws of the United States that the foregoing é rue and correct.

8/18/2016 Nicole Lipowski fsf Niédle Qwski . if ae

Date Printed Name Signatures”: fr L. “

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This form Is mandetery. Ithas been approved for vse by lhe United Slates Bankruptey Cour for the Cantral Dletricl of Catifomia.

une 2012 F 9013-3.1.PROOF,SERVICE
